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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND
                                 EASTERN DIVISION

KEITH SETH, et al.,                        )
Individually and on behalf of a class      )
of similarly situated persons,             )
                                           )
       Plaintiffs-Petitioners,             )
                                           )    Case No.
               v.                          )
                                           )
MARY LOU MCDONOUGH,                        )
In her official capacity as                )
Director of the Prince George’s County     )
Department of Corrections,                 )
                                           )
                                           )
       Defendant-Respondent.               )



                   MEMORANDUM IN SUPPORT OF
 PLAINTIFFS’ EMERGENCY MOTION FOR TEMPORARY RESTRAINING ORDER
                   AND PRELIMINARY INJUNCTION
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                                  PRELIMINARY STATEMENT

    There is currently an uncontrolled outbreak of COVID-19 at the Prince George’s County Jail

(“the Jail”). The Jail1 is accelerating this outbreak, creating an unacceptable risk that the people

imprisoned there will contract the disease and that those who do will become seriously ill or die.2

It has ignored the guidance of public health officials. For example, the Jail charges money for bars

of soap (and limits prisoners to one bar per week); some prisoners trade their meals for it, and

some go without it for days at a time. The Jail does not, as public health experts recommend,

sanitize common surfaces or enact meaningful social distancing.

    Those who test positive for the disease fare no better: patients with COVID-19 can

decompensate quickly, but the Jail barely monitors COVID-positive prisoners. Instead, it holds

them in unsanitary cells where trashbags overflow with spit and vomit because corrections staff

are afraid to enter the cell to remove them. The walls of medical isolation cells are covered in

feces, mucus, and blood.

    Prisoners observe sick people everywhere: coughing, shaking, sweating, and struggling to

breathe. “I feel like everyone in the unit is catching it,” one said. “[I]t seems like almost everyone

is sick.” Ex. 10, Decl. 10 ¶12.3 Medical care is inaccessible, even for those with symptoms of

COVID-19. Sick call costs $4, and those who cannot afford it go without medical treatment.

Prisoners who do request medical care often wait a week or more before anyone responds.




1
 Since Defendant McDonough is being sued in her official capacity, “Defendant McDonough”
and “the Jail” are used interchangeably in this motion.
2
 The majority of Named Plaintiffs and class members are pretrial detainees, but some are held
post-conviction. Plaintiffs seek to certify a class for both categories.
3
  The numbered exhibits cited in this memorandum are attached to Plaintiffs’ Complaint. The
lettered exhibits are attached to Plaintiffs’ Emergency Motion for a Temporary Restraining Order
and Preliminary Injunction.


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Prisoners with COVID-19 symptoms—fever, chills, shortness of breath, diarrhea—who seek

medical care are told by the medical staff to return to general housing because they are not sick

enough, or because the Medical Unit is full. This happens even to those with medical conditions

(like asthma, chronic bronchitis, and HIV) that make them more vulnerable to COVID-19.

   Named Plaintiffs and putative class members are already in danger. Six of the Named Plaintiffs

have pre-existing conditions that make them especially vulnerable to severe illness and death if

they are infected. Five of them have symptoms of COVID-19. They—along with approximately

600 other prisoners—are trapped in a Jail that endangers the sick. Absent this Court’s intervention,

many will suffer and some will die.

    In addition, although the Jail has refused to adopt basic measures to slow the outbreak within

its walls, the Jail refuses to release COVID-positive prisoners until it deems them no longer

contagious, even when it has no legal authority to hold them (because, for example, they have paid

bail). One prisoner who tested positive for COVID-19 on the same day that he paid his bail was

illegally held for fourteen days.

   These conditions violate Named Plaintiffs’ and putative class members’ rights under the Eighth

and Fourteenth Amendments to the U.S. Constitution. They seek emergency relief under 42 U.S.C.

§ 1983 to bring the Jail’s conditions in line with basic public health standards. Plaintiffs also ask

this Court under § 1983 to enjoin Defendants McDonough from illegally detaining COVID-

positive prisoners. In addition, a subclass of medically vulnerable prisoners (the “Medically

Vulnerable Subclass) ask this Court to release them under 28 U.S.C. § 2241 because the Jail is too

dangerous for them to remain there.




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                                STATEMENT OF FACTS

      I.     There Is a Current COVID-19 Outbreak at the Prince George’s County Jail

      There is an ongoing outbreak of COVID-19 at the Prince George’s County Jail (“the Jail”).4

As many as 77 prisoners may have confirmed cases. Compl. ¶ 77. According to Dr. Jaimie Meyer,

an infectious disease expert and assistant professor at Yale Medical School, this is likely “a gross

underestimate by at least three-fold.” Ex. 30,5 Meyer Decl. ¶ 41.6 If Dr. Meyer is correct, then

COVID-19 has already infected nearly half of the Jail’s approximately 600 prisoners.

      COVID-19 is highly infectious. Compl. ¶¶ 27-29. Up to sixteen percent of those who contract

it will suffer severe illness. Ex. 30, Meyer Decl. ¶ 9. In the United States, the mortality rate is 3.2

percent. Ex. 32, Benninger Decl. ¶ 2(G). Twenty percent of those who contract COVID-19 will

need hospitalization, and five percent will need intensive care. Id. ¶ 2(F). Those who survive may

suffer long-term damage to the heart, liver, and lungs. Compl. ¶ 34. Certain preexisting

conditions—including asthma, chronic lung disease (like bronchitis), heart disease, and diabetes

intensify the risk of severe illness and death. Id. ¶ 35.

      The Prince George’s County Department of Corrections reported its first case of COVID-19

on March, 30, 2020. Compl. ¶ 68. In an interview with the Washington Post, Defendant DOC

Director Mary Lou McDonough said she was certain that more would follow. “I expect we’ll have



4
 The Jail is also sometimes referred to as the “Prince George’s County Detention Center” or the
“Upper Marlboro Detention Center.”
5
    All exhibits referenced in this motion are attached to the Complaint.
6
  Expert declarations are included from Dr. Meyer, as well as Dr. Kristen Benninger, a hospitalist
who is currently treating patients for COVID-19 and has experience as a prison physician, and Dr.
Craig Haney, a psychology professor and expert in prison isolation. See Ex. 30 (Meyer
Declaration); Ex. 31 (Meyer Curriculum Vitae); Ex. 32 (Benninger Declaration); Ex. 33
(Benninger Curriculum Vitae); Ex. 34 (Haney Declaration); Ex. 35(Haney Curriculum Vitae).
Each expert assessed the conditions at the Jail based on multiple prisoners’ declarations, which are
also included as exhibits to the Complaint. Exs. 1–27.


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more before this is over,” McDonough said, comparing jails to “cruise ships without the views or

the amenities.” Id. ¶ 69. “A jail is a pretty transitory place,” she continued. “People are close

together. You’re all breathing the same air.” Id. ¶ 69. Four days later, on April 3, three prisoners

and a corrections officer tested positive for COVID-19. Id. ¶ 71.

   The DOC has not since disclosed the number of COVID-19 cases at the Prince George’s

County Jail. But the people imprisoned there have observed its spread. Plaintiffs are aware of cases

in at least half of the Jail’s ten adult housing units. Id. ¶ 76. Every day, prisoners see evidence of

illness: people sick and coughing, or reporting to medical and not coming back. Id. ¶ 76 n. 52; id.

¶ 130 n. 75. One prisoner said, “I have told my family that I love them because I feel sure I am

going to get the virus in here.” Ex. 17, Decl. 17 ¶ 7.

   II.     The Jail Has Failed to Adopt Measures to Prevent the Spread of COVID-19.

           A. The Jail Disregards the CDC’s Guidance on Containing COVID-19.

   In jails and prisons, COVID-19 is both more likely to spread and more likely to result in severe

illness and death when it does. See Ex. 30, Meyer Decl. ¶¶ 13–24; Ex. 32, Benninger Decl. ¶ 3;

Compl. ¶ 59-67. Recognizing this risk, on March 23, 2020, the U.S. Centers for Disease Control

and Prevention (“CDC”) issued guidance for correctional facilities to “reduce the risk of

transmission and severe disease from COVID-19.” See Ex. 36, U.S. Centers for Disease Control

and Prevention, Interim Guidance on Management of Coronavirus Disease 2019 (COVID-19) in

Correctional and Detention Facilities (March 23, 2020), at 2. This guidance includes “detailed

recommendations” about preventing transmission, including hygiene and cleaning practices, social

distancing, evaluating symptoms, and the use of medical isolation and quarantine.

   The Jail has disregarded nearly all of the CDC’s recommendations. Prisoners do not have liquid

soap, which the CDC states should be provided to them at no cost. Ex. 36, CDC at 10; but see




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Compl. ¶ 84. The jail charges money for bars of soap, and it only allows prisoners one bar each

week. Id. ¶ 85. Prisoners who cannot afford it have no soap at all, although some trade their food

to get it. Id. ¶ 86. Jail staff do not regularly clean or sanitize shared amenities or surfaces, including

the phones inmates must use to call their families and lawyers. Id. ¶ 87-88; but see Ex. 36, CDC

at 9 (stating that jail staff should “clean and disinfect surfaces and objects that are frequently

touched in common areas several times each day.”).7

    The CDC recommends that corrections facilities “[c]reate and test communications plans to

disseminate critical information to incarcerated/detained persons, staff, etc. as the pandemic

progresses.” Ex. 36, CDC at 5. But the jail has not provided prisoners with information about

COVID-19, its symptoms, or how to protect themselves from it. Compl. ¶ 81.

    In the general population housing units, the jail has not enacted (or explained) effective social

distancing measures, which require “increasing the space between individuals,” ideally by at least

six feet, and decreasing the frequency of contact between them. Ex. 36, CDC at 4. Prisoners are

deprived of the opportunity to socially distance—regularly remaining less than six feet apart from

their cellmates, prisoners in other cells, prisoners using phones, and guards taking the count.

Compl. ¶¶ 93-96. Since jail staff has not informed prisoners about what social distancing entails,

many have no idea that they should be keeping their distance from one another. Plaintiff Keith

Seth, upon learning about the recommended six feet of distancing from his attorney, realized that

he had been within a foot of a sick prisoner earlier that day:

        “Earlier today the person in the cell next to me had to go to the medical unit because
        he was sneezing, shaking, and sweating. I was just talking to him yesterday, and
        when I was talking with him I was within a foot of him. I did not know that I was
        being unsafe in talking to him so closely because I have not been told by anybody


7
  See Ex. 30, Meyer Decl. ¶ 29 (“Inconsistent access to hygiene and disinfection measures will
result in widespread infection throughout the facility.”).


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       to stay away from other inmates. The only information I received is to stay six feet
       away from the officer’s desk.

Ex. 1, Seth Decl. ¶ 9.

    The Jail’s limited attempts at social distancing measures are markedly careless: the Jail has

staggered prisoners’ recreation in groups of 10, but the same group of prisoners does not always

take recreation together each day. Compl. ¶ 99. Thus, infected prisoners can infect a new set of

other prisoners at recreation each day, and then those prisoners can infect still more. Id. ¶ 100; see

Ex. 30, Meyer Decl. ¶ 30 (noting that while staggered recreation can be an effective social

distancing strategy, it is “not useful to prevent the spread of disease if recreation is staggered with

different individuals each day (i.e. different groups of 10).”).

    When prisoners show symptoms of COVID-19, Jail staff do not (as the CDC recommends)

place them in medical isolation. See Ex. 36, CDC Guidance at 10 (“As soon as an individual shows

symptoms of COVID-19, they . . . should be immediately placed under medical isolation in a

separate environment from other individuals”).8 Instead, once seen by medical staff, symptomatic

prisoners are often sent back to their cells in general housing, where they will inevitably infect

others. Prisoners have visited the medical unit with fevers, shortness of breath, coughing, chills,

headaches, and fluid in the chest, and medical staff have sent them back to their housing units with

Claritin9 or Tylenol. Compl. ¶¶ 101-03. Some prisoners—including those who later tested positive

for COVID-19—have been sent back and forth between the medical unit and general housing as

often as four or five times. Id. ¶¶ 105-17; but see Ex. 36, CDC Guidance at 15 (“Keep the



8
  Ex. 30, Meyer Decl. ¶ 27 (“One of the most critical infection control measures in correctional
settings is to accurately identify people who are ill and medically isolate them from the general
population.”).
9
  Ex. 30, Meyer Decl. ¶ 31 (observing that “prisoners [at the Jail] are given Claritin – a
decongestant that is entirely useless for COVID-19”).


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[symptomatic] individual’s movement outside the medical isolation space to an absolute

minimum.”).

     In early April, the jail began twice daily temperature checks for prisoners. Id. ¶ 122. But the

checks are not conducted in every housing unit. Id. And as implemented, even this practice is an

opportunity for infection. The temperature reader is not cleaned between uses, and the medical

staff do not change their gloves. Id.10 Even when prisoners do have a fever, jail staff may fail to

quarantine them. Compl. ¶¶ 124-26. One prisoner, who suffers from high blood pressure and

seizures, was told to remain in general housing despite having a fever. Ex. 11, Decl. 11 ¶¶ 9–10.

By early evening, he “started to have real difficulty breathing.” Id. But he was told to wait for the

next temperature check at 9:00 pm. Id. By then, his temperature was 104 degrees. Id. He later

tested positive for COVID-19. Id. ¶ 2.

     When a prisoner tests positive for COVID-19, the CDC recommends that every person who

has been within six feet of that prisoner be placed in quarantine for fourteen days. Ex. 36, CDC

at 14. But the jail has failed even to inform prisoners who have had close contact with a positive

case—even when the infected person was the prisoner’s cellmate. Compl. ¶ 129. Nor do they

disinfect cells where COVID-positive prisoners have lived. Id. ¶ 130.

            B. The Limited Containment Methods Adopted by the Jail Are Ineffective and
               Counterproductive.

     Instead of implementing the CDC’s recommendations to prevent COVID-19, the Jail has

resorted to methods of its own. Its principle strategy has been to implement a universal, preemptive




10
   Ex. 23, Benninger Decl. ¶ 2(E) (“When performing temperature checks on multiple individuals,
a clean pair of gloves should be used for each individual and the thermometer should be thoroughly
cleaned between each check.”); Ex. 30, Meyer Decl. ¶ 27(b) (“[T]here is high likelihood that
nurses’ gloves, thermometer covers, and door slots are contaminated and can themselves be a
vehicle for transmission from person to person.”).


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lockdown of all prisoners. Compl. ¶ 132. Prisoners are confined to their cells 23 hours per day. Id.

¶ 133. They have one hour of out-of-cell time. Id. ¶ 134. This hour (which may be at 1:30 am or

some other odd hour) is prisoners’ only chance to shower, go outside, or use the phones to call

their attorneys or their families (if they are awake). Id.; see Ex. 7, John Doe No. 4 Decl. ¶ 14 (“You

can’t really talk to your family at 1 o’clock in the morning, my kids are asleep.”). The lockdown

appears to have no end date short of the pandemic’s end. Compl. ¶ 136.

     The CDC does not recommend preemptive lockdowns.11 Rather, it recommends that housing

units “quarantine in place” when there is “contact with a case from the same housing unit” and

that all quarantines—including this sort—last for just 14 days. Ex. 36, CDC at 19. Public health

experts warn that preemptive lockdowns like that at Prince George’s County Jail are both

ineffective and counterproductive at preventing the virus’s spread. Instead, consistent with the

CDC Guidance, these experts recommend that lockdowns be time-limited and used only as

necessary for quarantine or contact tracing.12


11
   Instead, the CDC’s social distancing guidance includes suggestions like “[r]earranging seating
in the dining hall so that there is more space between individuals,” and “[c]onsider[ing] alternatives
to existing group activities, in outdoor areas or other areas where individuals can spread out.” Ex.
36, CDC at 11.
12
   Ex. 30 , Meyer Decl. ¶ 30 (“Lockdown can be important from a public health standpoint to
enable social distancing during a pandemic but should be used only as a last resort and in a time-
limited way (CDC recommends quarantines last no longer than 14 days) that is communicated
clearly to the residents”); David Cloud, Dallas Augustine, Cyrus Ahalt and Brie Williams, The
Ethical Use of Medical Isolation—Not Solitary Confinement—to Reduce COVID-19 Transmission
in Correctional Settings, Amend 3 (Apr. 9, 2020), available at https://amend.us/wp-
content/uploads/2020/04/Medical-Isolation-vs-Solitary_Amend.pdf           [hereinafter     “Medical
Isolation—Not Solitary”] (“Corrections officials should only require people on an entire housing
unit to stay in their cells (“Lockdown”) if medical professionals determine a symptomatic persons
resides or works on that unit or contract tracing flags a confirmed or suspected case. In this event,
time-limitations must be clearly communicated to residents and staff.”); Ex. 34, Haney Decl. ¶ 29
(“[T]he Jail should institute … lockdowns only where medically necessary to resolve discrete
issues, such as sanitizing dorms or contact tracing of an infected prisoner. If the [Jail] resorts to
these lockdowns, it should do so in a reasonably time-limited manner and communicate that time-
limit to the prisoners who are affected.”).


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     Indeed, on lockdown, as a structural matter, opportunities for infection abound. Most prisoners

live with cellmates in poorly ventilated cells. Id. ¶ 143. Even prisoners in different cells are less

than six feet apart. Id. Thus, perversely, the lockdown policy—especially in combination with the

jail’s failure to medically isolate those with symptoms of COVID-19—traps prisoners in close

proximity to people who may be sick. Id. ¶ 144; see Ex. 36, CDC at 19 (warning that quarantining

prisoners together “could transmit COVID-19 from those who are infected to those who are

uninfected.”); Ex. 30, Meyer Decl. ¶ 30 (stating that sustained lockdowns are “particularly

problematic when inmates are locked down in poorly ventilated spaces that are shared closely with

others, which may contribute to disease transmission from people who are infected with COVID-

19 but have not yet developed or reported symptoms.”).

     For example, Plaintiff John Doe No. 2, who has severe asthma for which he has previously

been hospitalized, is locked down with his cellmate, who has lost his sense of smell and taste (a

symptom of COVID-19). Compl. ¶ 145; see also, e.g. Ex. 17, Decl. 17 ¶ 6 (“My cellmate has been

coughing and sneezing. They have us locked in 23 hours a day. . . . There is no way for my cellmate

and I to distance ourselves from each other.”); Ex. 7, John Doe No. 4 Decl. ¶ 14 (“[I]t’s really bad

when you can’t get come out of a cell for 23 hours I’m really scared now because my cellie has

been sick.”).

     The Jail’s preemptive lockdown is counter-productive in other ways as well. Because

prisoners’ one hour of out-of-cell time is their only chance to call their attorneys and families, they

congregate by the phones (which are rarely, if ever, cleaned).13 Id. ¶ 146. The lockdown also




13
   Ex. 30, Meyer Decl. ¶ 30 (observing that under the Jail’s preemptive lockdown policy, “[w]ith
only 1 hour per day to use phones, it may be hard to enforce social distancing since prisoners need
to congregate to use this precious resource”); Ex. 34, Haney Decl. ¶ 16 (“During th[e] limited one
hour of out-of-cell time [under the Jail’s preemptive lockdown policy], prisoners crowd together


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“decreases the interactions that prisoners have with correctional and healthcare staff members,

compromising the latter’s ability to identify symptoms,” further ensuring that infected prisoners

will remain in general population where they can spread the virus. Ex. 34, Haney Decl. ¶ 25.14

     III.    The Jail’s Conditions Increase the Risk of Severe Illness and Death.

     The conditions at the Prince George’s County Jail not only amplify the risk of infection. They

also greatly increase the risk that prisoners who are infected with COVID-19 will suffer serious

illness, permanent physical damage, and death.

     Prisoners whom the Jail decides to test for COVID-1915 are moved to Medical Unit’s isolation

cells, where they remain for two to five days, awaiting their test results. Compl. ¶ 167. The walls

of the cells are covered in feces, mucus, and blood. Id. Prisoners there are not allowed to shower.

Id. ¶ 170. They cannot change their clothes, even when they are soaked in sweat. Id. They are often

denied soap and a toothbrush. Id. They have no access to phones, so they cannot contact their

families or their attorneys. Id. ¶ 171.

     Once a prisoner tests positive for COVID-19, he is moved into a 10-man cohorted isolation16

cell for COVID-positive prisoners in the Medical Unit or to a isolation cell in Housing Unit 6 (H-




to use the limited shared resources. . . . As a result, they are unable to maintain the recommended
six feet of social distancing.”).
14
  See Medical Isolation—Not Solitary, supra note 12, at 2 (warning that “preemptively placing
entire units on ‘lockdown’ for indefinite amounts of time” will likely mean that “interactions
with correctional staff an healthcare staff often become less frequent and people with symptoms
may go undetected”).
15
   As described above, this does not include every prisoner with symptoms of the virus; many
symptomatic prisoners are not medically isolated or even evaluated by medical staff, let alone
tested. See supra at 6–7.
16
  “Cohorted isolation” is the practice of medically isolating prisoners with symptoms or confirmed
cases of COVID-19 together. The CDC recommends that cohorting “should only be practiced if
there are no other options.” Ex. 36, CDC at 19.


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6). Id. ¶ 174. The 10-man cell is filthy. Id. ¶ 175. For fear of contracting COVID-19, corrections

officers will not remove the overflowing trash bags, which are filled with vomit and spit. Id. Sick

prisoners—who may be vomiting, sweating, and have diarrhea and high fevers—lack access to

basic hygiene products. Id. ¶ 177. Many do not have soap. Id. Some have not had toothbrushes for

over a week. Id. They are still not allowed to shower (which means that some go without bathing

for more than two weeks). Id. All of the sick men share a single, mildewed sink. Id. Prisoners may

go five or six days without being able to change their clothes or underwear. Id.

     These conditions have consequences. As Dr. Meyer explains,

        “Medical isolation units should be hygienic and safe . . . . In contrast, the prisoners
        describe unsafe isolation cells, at times without staff present inside the housing unit,
        and filthy living conditions, including dried blood and feces on the walls and floors
        of isolation cells. Some describe not having access to clean sheets and one
        described having to pull his used sheets out of a red biohazard bag for reuse. These
        conditions are not only inhumane but also unhealthy. In addition to spread of
        COVID-19, people in these medical isolation units are therefore at risk of exposure
        to other diseases, including HIV and Hepatitis C.”

Ex. 30, Meyer Decl. ¶ 33.17

     Moreover, medical and mental health experts warn that punitive isolation conditions can cause

prisoners to downplay their symptoms to avoid them.18 At the Prince George’s County Jail,


17
  See Ex. 32, Benninger Decl. ¶ 3 (observing that the isolation cells “are not in accordance with
recommended hygiene and sanitation standards, as prisoners report they have a significant amount
of body fluids on the walls, including ‘mucous, feces, blood, old food, urine, spit’, ‘around the
walls, 360 degrees’”); Id. ¶ 3(D) (“Body fluids should absolutely be cleaned from any surfaces.”).
18
  Ex. 30, Meyer Decl. ¶ 31 (“The[] conditions [in the isolation units] deter other individuals from
reporting symptoms for fear they may end up in isolation.”); Ex. 34, Haney Decl. ¶ 25 (“[T]he
even more onerous conditions that the Prince George’s County Jail imposes on prisoners who are
placed in medical isolation likely serve as a disincentive for inmates to report their own symptoms.
Prisoners understandably do not want to be placed in insect-infested, dirty cells where they will
spend two weeks without access to telephones or showers.”); Medical Isolation—Not Solitary,
supra note 12, at 2 (“Fear of being placed in solitary will deter people from reporting symptoms
to correctional staff. Experts and advocates are deeply concerned that incarcerated people, many
of whom will go to great pains to avoid solitary confinement . . . will not come forward with
symptoms of COVID-19 because they do not want to be placed in such conditions.”).


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prisoners regularly do this. Compl. ¶ 169; Ex. 12, Decl. 12 ¶14 (stating that many prisoners are

“more afraid of how they’ll be treated in the medical unit than they are of their symptoms.”). This

“result[s] in their increased risk of severe disease and death and ongoing spread to others.” Ex. 30,

Meyer ¶ 19; see Medical Isolation—Not Solitary, supra note 12, at 2 (“Th[e] avoidance of

reporting symptoms of illness [to avoid punitive isolation conditions] will not only accelerate the

spread of infection within facilities, but also increase the likelihood of prisoner deaths due to lack

of treatment.”).19

     The Jail also provides inadequate medical monitoring of sick prisoners in isolation. People in

medical isolation for suspected COVID-19 should be “diligently monitored for clinical

worsening.” Ex. 30, Meyer ¶ 32. This is necessary because “[p]rogression of respiratory symptoms

in COVID-19 can be extremely rapid.” Id.; see Ex. 32, Benninger Decl. ¶ 2(F) (“[P]ersons infected

with COVID-19 have the ability to rapidly decompensate from a respiratory standpoint once

showing symptoms, sometimes requiring mechanical ventilation at an emergent pace.”).

     But prisoners in the medical isolation cells and cohorted isolation are barely monitored at all.

Contact with medical staff (or any other staff) is limited to a nurse that briefly visits approximately

three times each day to take temperatures, give medications, and deliver food. Compl. ¶ 172.20 The

prisoners in these cells do not know how they would get help in a medical emergency. Id.; see Ex.




19
   To avoid deterring prisoners from reporting their symptoms, experts recommend that medical
isolation not replicate the punitive conditions of disciplinary solitary confinement. For example,
prisoners in isolation should have free access to reading material, outdoor exercise, and phones.
See Medical Isolation—Not Solitary, supra note 12, at 2, 4; see Ex. 34, Haney Decl. ¶ 30.
20
  See Ex 30, Meyer Decl. ¶ 32 ([T]he prisoners’ declarations in the Prince George’s County Jail
describe a lack of medical attention that is highly concerning and suggests that medical staff do
not have the necessary staffing, training, or resources to identify when people require
hospitalization.”); see also id. ¶ 19 (“[I]solation of people who are ill in solitary confinement
results in decreased medical attention and increased risk of death.”).


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12, Decl. 12 ¶ 9 (stating that, in the isolation cells, “there was no way for us to notify someone if

we were having an emergency, except to get up and bang on the door and hope that someone could

hear you”). In H-6, cells are equipped with buzzers, but they do not always seem to work. Id. ¶

180-81. A prisoner who is isolated for COVID-19 in H-6 said:

        “I have a seizure disease. If I were to have a seizure, I wouldn’t be able to push the
        button. No COs are in the housing unit, so no one would hear what was going on.
        I’m afraid that if I have a seizure in here, no one will hear it and I will die. . . .
        They’re not really doing anything to protect any of us in here.”

Ex. 9, Decl. 9 ¶¶ 31–32.

     Sick prisoners who remain in general population (there are many) also lack access to adequate

medical care. Requesting medical attention (“sick call”) costs $4, which some cannot afford.

Compl. ¶ 150. Some housing units have run out of sick call slips entirely. Id. Prisoners who make

a sick call may wait a week or more before they are seen. Id. ¶ 157.21 Jail staff have told prisoners

that medical care is reserved for emergencies and that the Medical Unit is full. Id. ¶ 156; Ex. 5,

John Doe No. 2 Decl. ¶ 20 (“I told them that I needed medical attention [for COVID-19 symptoms],

and they said there aren’t enough beds in medical, it’s full over there.”).

     Prisoners—including those with pre-existing conditions that increase their risk of

complications and death—routinely visit the medical unit with clear symptoms of COVID-19 and

are told to return to their housing units. Id. ¶¶ 103-18. In one representative example, a prisoner

with HIV made a sick call because he had a fever, body pain, a cough, and a sore throat. Ex. 26,

Decl. 26 ¶ 4. Medical staff did not see him until ten days later; they then told the prisoner that his

case “was not serious enough to have additional care,” and that “the Medical Unit is only seeing




21
  Ex. 32, Benninger Decl. ¶ 3(F) (“In the setting of COVID-19, delays in medical care can cost
inmates their lives as we have seen relatively rapid respiratory decompensation in patients.”).



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emergencies.” Id. ¶¶ 4–6. These barriers to medical care further increase the risk that prisoners

infected with COVID-19 will become severely ill and die.22

      The cost of sick call and the Medical Unit’s reputation for not assisting prisoners with

symptoms of COVID-19 has led some high-risk, symptomatic prisoners to forego care. Compl. ¶¶

149-53. For example, Plaintiff Seth, who has chronic bronchitis for which he was hospitalized last

year, has had symptoms of COVID-19 since late March. Ex. 1, Seth Decl. ¶ 9. He is currently

coughing up mucus and has shortness of breath. Id. ¶ 9. He recently had diarrhea, and he has lost

his sense of smell and taste. Id. ¶ 10. On April 17, he woke up with a nosebleed.23 Id. ¶ 9. But Mr.

Seth has not made a sick call because he does not have the $4 to pay for it. Id. ¶ 10. He has also

heard that the Medical Unit will not do anything to help: “I know one guy who had a fever and

they kept him for three days and sent him back. Another guy I know lost his sense of taste and his

stomach hurt, but medical sent him back.” Id. ¶ 11.

      Medical care for anything other than COVID-19—including underlying health conditions like

asthma and bronchitis—has stalled or stopped. Jail staff has told prisoners that they cannot receive

medical care because the Medical Unit is locked down. Id. ¶ 158. Prisoners who have made sick

calls that were not about COVID-19 have been told by corrections officers “that if it’s nothing

relating to Corona not to write to medical.” Id. ¶ 159. And many prisoners have been unable to

obtain or change their medications—including prisoners with pre-existing conditions like asthma.

Id. ¶ 161. As Dr. Meyer warns: “Failure to provide individuals adequate medical care for their




22
  Ex. 30, Meyer Decl. ¶ 32 (stating that the barriers to adequate care in the Jail, including the cost
of sick call and delayed care, “may result in preventable deaths and undue harm”).
23
     Nosebleeds may be “signs of complicated COVID-19 disease.” Ex 30, Meyer Decl. ¶ 32.



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underlying chronic health conditions results in increased risk of COVID-19 infection and increased

risk of infection-related morbidity and mortality if they do become infected.” Ex. 30 ¶ 35.

     Prisoners’ mental health is also at great risk. Dr. Craig Haney, a psychologist and expert on

prison isolation, has concluded that the punitive isolation methods that dominate the Jail’s

approach to COVID-19 “greatly increase the psychological stress under which prisoners live,

potentially leading to mental and physical deterioration, interpersonal conflicts, and self-harm and

suicidality.” Ex. 34, Haney Decl. ¶ 20.24 As Dr. Haney explains, “The Prince George’s County Jail

lockdown units are now being used in ways that are essentially identical to the solitary

confinement-type housing that has been shown to place prisoners at significant risk of grave harm

(including damage that is permanent, even fatal).” Ex. 34, Haney Decl. ¶ 21.25 Moreover, the Jail

has discontinued mental health services.26 This places prisoners with mental illness who are

isolated “at grave risk of decompensation.” Ex. 34, Haney Decl. ¶ 24.27 These policies also threaten


24
  See also Medical Isolation—Not Solitary, supra note 12, at 3 (“Research shows that keeping
people socially isolated in a closed cell without a meaningful opportunity to communicate with
family, friends, and loved ones or to participate in exercise, education, and rehabilitative
programming (solitary confinement) causes immense, and often irreparable, psychological
harm.”); Ex. 32, Benninger Decl. ¶ 3(J) (“I have concern that there has not been sufficient
acknowledgement of or attention to the inmates’ mental health under the stressors of pandemic
and confinement.”).
25
  Ex. 34, Haney Decl. ¶ 20 (“The fact that prisoners are double-celled during these lockdowns [in
the general housing units] does not mitigate the negative effects of their essentially around-the-
clock in-cell confinement. In fact, double-celling may exacerbate these effects because of the
interpersonal tensions and stressors that such unavoidably close around-the-clock contact
generates.”).
26
  Ex. 30, Meyer Decl. ¶ 36 (“People with underlying chronic mental health conditions need
adequate access to treatment for these conditions throughout their period of detention.”).
27
   Even in less extreme forms of isolation than those imposed at the Jail, the CDC Guidance
recommends efforts to mitigate the mental health consequences of any necessary medical isolation.
See, e.g., Ex. 36, CDC at 12 (“[I]f group activities are discontinued, it will be important to identify
alternative forms of activity to support the mental health of incarcerated/detained persons.”); id. at
13 (“Consider increasing incarcerated/detained persons’ telephone privileges to promote mental
health.”); id. at 13–14 (recommending that, since “visitation is important to maintain mental


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physical harm; “the extraordinary added stress of social isolation under these especially onerous

conditions” may “depress prisoners’ immune systems and render them even more vulnerable to

COVID-19 virus, and less able to combat it if and when they contract it.” Ex. 34, Haney Decl. ¶

26; see also Ex. 30, Meyer Decl. ¶ 36 (“Failure to provide adequate mental health care . . . as

appears to be the case at the Prince George’s County Jail, will result in poor health outcomes.).

     IV.    The Jail Maintains a Policy of Overdetention for COVID-19 Positive Inmates

     “Prisons and jails are not isolated from communities,”28 and Prince George’s County is the

“epicenter of [the COVID-19 epidemic in] the state.” Compl. ¶ 44. It is therefore critical that the

Jail control the COVID-19 outbreak within its walls to protect people outside of them.

     The Jail has not done this. As described above, it has flouted the most basic public health

recommendations to prevent the virus’s spread. However, the Jail has instituted its own method of

infection control: it detains people with COVID-19 even when it has no legal authority to do so.

Specifically, the Jail refuses to release COVID-positive prisoners who have paid bail until it deems

them non-contagious. Compl. ¶ 183. Accordingly, one prisoner who paid his bond on April 3,

2020—but tested positive for COVID-19 on the same day—was illegally imprisoned in the

cohorted isolation cell in the Jail for fourteen days. Id. ¶ 184. Had he been released when he paid

his bond on April 3rd, he would have sought treatment for COVID-19 at a local hospital. Id. ¶ 186.

                                            ARGUMENT

     Plaintiffs seek a temporary restraining order (TRO) and preliminary injunction to address

unconstitutional conditions of confinement at the Prince George’s County Jail, as well as the Jail’s


health,” if visitation is suspended, “facilities should explore alternative ways for
incarcerated/detained persons to communicate with their families, friends, and other visitors in a
way that is not financially burdensome for them.”). The Jail has done none of this.
28
  Ex. 30, Meyer Decl. ¶ 15; see id. (explaining the negative health implications of COVID-19
outbreaks within prisons upon surrounding communities).


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policy of unlawfully detaining COVID-positive prisoners. To obtain a TRO or a preliminary

injunction, Plaintiffs must show the following: (1) Plaintiffs are likely to succeed on the merits,

(2) they are likely to suffer irreparable harm absent preliminary relief, (3) the balance of equities

tips in Plaintiffs’ favor, and (4) an injunction is in the public interest. Winter v. Nat. Res. Def.

Council, Inc., 555 U.S. 7, 20, (2008); Montgomery v. Hous. Auth. of Bal. City, 731 F. Supp. 2d

439, 441 (D. Md. 2010). Plaintiffs satisfy all four requirements on both claims.

     I.     A Temporary Restraining Order Should Issue to Address the Jail’s
            Unconstitutional Conditions.

     In recent weeks, federal district courts have granted temporary restraining orders to remedy

constitutionally inadequate conditions that increase the threat of COVID-19, ordering jails to

comply with the CDC Guidance and take other necessary measures to protect prisoners from

infection, serious illness, and death.29 Because the conditions in the Prince George’s County Jail

create a substantial risk of serious future harm to the prisoners’ health, this Court should do the

same.

             A. Plaintiffs Are Likely to Succeed on the Merits of Their Eighth And
                Fourteenth Amendment Claims.

The Eighth and Fourteenth Amendments prohibit state actors from exposing incarcerated people

to conditions of confinement that threaten their health and safety. Helling v. McKinney, 509 U.S.



29
  See, e.g., Ex. A, Order (Doc. 48), Banks v. Booth, 1:20-cv-849 (D.D.C. Apr. 19, 2020) (granting
temporary restraining order to Plaintiffs and putative class of prisoners at the D.C. jail); Ex. B,
Order (Doc. 12), Cameron v. Bouchard, No. 2:20-cv-10949-LVP-MJH, at 4-7 (E.D. Mich. Apr.
17, 2020) (granting temporary restraining order to Plaintiffs and putative class of pretrial and post-
conviction prisoners at the Oakland County Jail); Ex. C, Order (Doc. 40), Valentine v. Collier, No.
4:20-CV-1115 (S.D. Tex. Apr. 16, 2020) (granting temporary restraining order to Plaintiffs and
putative class of prisoners at geriatric prison); Ex. D, Order (Doc. 25), Swain v. Junior, No. 1:20-
cv-21457-KMW, at 2-5 (S.D. Fla. Apr. 7, 2020) (granting temporary restraining order to Plaintiffs
and putative class of putative class of pretrial and post-conviction prisoners at Metro West
Detention Facility in Miami, Florida).


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25, 33 (1993); see Raynor v. Pugh, 817 F.3d 123, 127 (4th Cir. 2016) (stating that prison officials

must “take reasonable measures to guarantee the safety of the inmates”). While the Eighth

Amendment secures the right of people convicted of a crime to be free from exposure to serious

harm, Helling, 509 U.S. at 33, the Due Process Clause of the Fourteenth Amendment affords at

least as much protection to pretrial detainees, City of Revere v. Mass. General Hosp., 463 U.S.

239, 244 (1983).

     Under these Amendments, an official is liable if she displays “deliberate indifference” to “a

condition of confinement that is sure or very likely to cause serious illness and needless suffering”

to someone detained, which includes “exposure of inmates to a serious, communicable disease.”

Helling, 509 U.S. at 33 (1993). In the Fourth Circuit, the same deliberate indifference test that

applies to convicted prisoners applies to pretrial detainees as well, and it includes both objective

and subjective components.30 See Shakka v. Smith, 71 F.3d 162, 166 (4th Cir. 1995) (explaining

this standard); Hill v. Nicodemus, 979 F.2d 987, 991-92 (4th Cir. 1992) (applying the deliberate

indifference standard to pretrial detainees). Here, there is a substantial risk of harm, and both the

objective and subjective deliberate indifference tests are satisfied.

     1. The Jail’s Conditions Create a Substantial Risk of Serious Harm.

     To meet the objective component of the deliberate indifference standard, a detainee must show

that he faces “a substantial risk of . . . serious harm resulting from the prisoner’s unwilling exposure




30
  After the U.S. Supreme Court’s decision in Kingsley v. Hendrickson, 135 S. Ct. 2466 (2015),
some circuits have concluded that pretrial detainees need not prove the subjective component of
the deliberate indifference standard. See Miranda v. Cty. of Lake, 900 F.3d 335, 352 (7th Cir.
2018); Gordon v. Cty. of Orange, 888 F.3d 1118, 1124-25 (9th Cir. 2018); Darnell v. Pineiro, 849
F.3d 17, 33–35 (2d Cir. 2017). However, the Fourth Circuit has not yet addressed the question of
whether Kingsley alters the deliberate indifference inquiry for pretrial detainees. Therefore, at
present, pretrial detainees must satisfy both the objective and subjective components to prevail.
See Coreas v. Bounds, No. CV TDC-20-0780, 2020 WL 1663133, at *8 (D. Md. Apr. 3, 2020).


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to the challenged conditions.” Shakka, 71 F.3d at 166.31 Plaintiffs easily do so. COVID-19 is

highly communicable, and the Jail’s conditions have amplified its spread. Compl. ¶¶ 27-29, 79-

147. There is already a severe outbreak of COVID-19 at the Prince George’s County Jail: nearly

half of its approximately 600 prisoners may already be infected. Id. ¶¶ 68-78.32 And the harm

Plaintiffs face is serious. In the United States, the mortality rate is 3.2 percent. Ex. 32, Benninger

Decl. ¶ 2(G)(i). Twenty percent of those infected with COVID-19 will need hospitalization, and

five percent will need intensive care. Ex. 30, Meyer Decl. ¶ 31; Ex. 32, Benninger Decl. ¶ 2(F).

Survivors may suffer long-term physical damage. Compl. ¶ 34.

     Because of the Jail’s conditions, there is also a substantial risk that infected prisoners will

become seriously ill, suffer long-term physical damage, and die. Symptomatic and COVID-

positive prisoners and are not adequately monitored for signs of serious illness, and the medical


31
   Since Plaintiffs’ claims involve inadequate medical treatment, and since a subclass of them is
medically vulnerable due to pre-existing conditions, Plaintiffs could also frame these claims in
terms of “deliberate indifference to serious medical needs.” Estelle v. Gamble, 429 U.S. 97, 104
(1976); see Coreas, No. CV TDC-20-0780, 2020 WL 1663133, at *9 (assessing medically
vulnerable detainees’ conditions claim through this lens). However, since the Jail’s dangerous
conditions include both failures in medical care and other basic safety precautions and imperil
prisoners both with and without pre-existing conditions, Plaintiffs’ claims are best characterized
as a challenge to conditions that create a substantial risk of “serious illness and needless suffering.”
Helling, 509 U.S. at 33. Regardless, “‘[w]hether one characterizes the treatment received by [the
prisoner] as inhuman conditions of confinement, failure to attend to his medical needs, or a
combination of both, it is appropriate to apply the ‘deliberate indifference’ standard.’” Id. at 32
(quotations omitted).
32
   The high risk of COVID-19 infection in the Jail alone is sufficient to create a significant risk of
serious harm, regardless of whether that harm has or will affect all of the prisoners exposed to it.
See Helling, 509 U.S. at 33 (stating that the Eighth Amendment “required a remedy” where
prisoners were crowded with others who had infectious diseases, even where “it was not alleged
that the likely harm would occur immediately and even though the possible infection might not
affect all of those exposed”); id. (“We would think that a prison inmate also could successfully
complain about demonstrably unsafe drinking water without waiting for an attack of dysentery.”);
see also Ex. E, Order (Doc. 23) Malam v. Adduci, No. 20-10829, at 29 (E.D. Mich. Apr. 6, 2020)
(“In the face of a deadly pandemic with no vaccine, no cure, limited testing capacity, and the ability
to spread quickly through asymptomatic human vectors, a generalized risk is a “substantial risk”
of catching the COVID-19 virus for any group of human beings in highly confined conditions.”).


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attention they do receive is limited or misguided. Id. ¶¶ 105-18, 148-57, 167-82. Meanwhile, the

Jail’s many barriers to care “will result in ongoing transmission within housing units and high risk

for complications of COVID-19 among those who are infected, including death.” Ex. 30, Meyer

Decl. ¶ 27(a); Compl. ¶¶ 149-66.

     At baseline, prisoners with certain pre-existing conditions are in greater danger from COVID-

19, “including a meaningfully higher risk of death.” Ex. 30, Meyer Decl. ¶ 40.33 The Jail’s

conditions have intensified these risks. Jail staff do not specially monitor these prisoners to protect

them from infection, and when they show symptoms of COVID-19, they are regularly turned away

from care. Compl. ¶¶ 154, 173; see ¶¶ 106-11, 126-27, 151-53, 157. The Jail is also failing to

provide medical care for anything other than COVID-19, including long-term chronic conditions

(like asthma). Id. ¶¶ 158-61. As a result medically vulnerable prisoners are at even greater risk of

serious illness and death.34

     Other conditions at the Jail further enhance the risk the virus poses to all prisoners. Medical

isolation cells are unsanitary: there is feces and mucus on the walls. Thus, “[i]n addition to spread



33
  See Coreas, No. CV TDC-20-0780, 2020 WL 1663133, at *11 (“For individuals in high risk
categories such as Petitioners, the available data shows that the death rate for those with COVID-
19 is between 15 percent and 20 percent.”).
34
   See Ex. 30, Meyer Decl. ¶ 35 (“Failure to provide individuals adequate medical care for their
chronic health conditions results in increased risk of COVID-19 infection and increased risk of
infection-related morbidity and mortality if they do become infected.”); Ex. 32, Benninger Decl. ¶
3(C) (“During this pandemic, inmate reports . . . show that inmates with medical conditions that
put them at increased risk of infection and disease, are not being cared for appropriately”); see also
Coreas, No. CV TDC-20-0780, 2020 WL 1663133, at *11 (“[T]he Court finds a major deficiency
in the lack of any procedures to address the heightened risk to detainees with certain medical
conditions. . . . For individuals in high risk categories such as Petitioners, the available data shows
that the death rate for those with COVID-19 is between 15 percent and 20 percent. While adequate
treatment for Coreas’s condition would necessarily require separation from, or at least
minimization of contact with, other detainees, Respondents have taken no general or specific steps
to meet this medical need for distancing, whether by providing Coreas with his own cell and
otherwise distancing him from other detainees.").


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of COVID-19, people in these medical isolation units are therefore at risk of exposure to other

diseases, including HIV and Hepatitis C.” Ex. 30, Meyer Decl. ¶ 33. Prisoners are locked down in

poorly ventilated cells for 23 hours per day with symptomatic cellmates, “contribut[ing] to disease

transmission.” Id. ¶ 30. Prisoners both in lockdown and medical isolation are denied access to

basic accommodations to mitigate psychological stress, and the Jail has halted mental health

services entirely. This is already inflicting grave harm to prisoners’ mental health35 and may

“depress prisoners’ immune systems and render them even more vulnerable to COVID-19 virus,

and less able to combat it if and when they contract it.” Ex. 34, Haney Decl. ¶ 26.

     These conditions satisfy the objective test. See Ex. B, Order (Doc. 12), Cameron v. Bouchard,

No. 2:20-cv-10949-LVP-MJH, at 3 (E.D. Mich. Apr. 17, 2020) (“It cannot be disputed that

COVID-19 poses a serious health risk to Plaintiffs and the putative class,” which included all

pretrial detainees at the Oakland County Jail).36 Indeed, a court in this district has so found in much

less extreme circumstances than these. In Coreas v. Bounds, No. TDC-20-0780, 2020 WL 1663133

(D. Md. Apr. 3, 2020), the court found that detainees at two different ICE facilities had shown a

substantial risk of serious harm, even though there were no confirmed cases on COVID-19 at those

facilities. Id. at *9-10; see also Jones v. Wolf, No. 20-CV-361, 2020 WL 1643857, at *9 (W.D.N.Y.

Apr. 2, 2020) (finding that the risk of COVID-19 in an immigration detention facility satisfied the

objective factor even through there were no reported cases there).37



35
 See, e.g., Compl. ¶ 14 (stating that Mr. Seth, who is on 23-hour lockdown and no access to
mental health services, has bipolar disorder).
36
   See also, e.g., Ex. C, Order (Doc. 40), Valentine v. Collier, No. 4:20-CV-1115, at 1 (Apr. 16,
2020) (finding that Named Plaintiffs representing a class of prisoners “face[d] a high risk of serious
illness or death from exposure to COVID-19”).
37
  In other factual contexts, courts have found that far more attenuated dangers than the immediate
threats here could satisfy the objective test. See, e.g., Helling, 509 U.S. at 35 (affirming circuit
court’s holding that second-hand smoke posed an unreasonable risk of serious harm to a prisoner’s


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   Here, an outbreak is already in progress. And the Jail has intensified the risks of COVID-19

by (for example) suspending mental health care and exposing prisoners to extreme psychological

distress through the use of punitive lockdowns and isolation conditions. See Ex. F, Order (Doc.

27), Doe v. Barr, 20-cv-2141-LB (Apr. 12, 2020), at 16 (finding that “petitioner’s other diagnoses

of chronic PTSD and depression compound his susceptibility” to a COVID-19 infection); see id.

at 6–7 (detailing evidence that mental illness can depress the immune response and lead to an

increased risk of infections). Further, although Plaintiffs’ claims address the risk of harm imposed

by the sum total of the Jail’s inadequate conditions, some of the Jail’s conditions may

independently create a substantial risk of serious harm. See, e.g., Porter v. Clarke, 923 F.3d 348,

357 (4th Cir. 2019), as amended (May 6, 2019) (finding that conditions wherein prisoners spent

“between 23 and 24 hours a day ‘alone in a small . . . cell’ with ‘no access to congregate religious,

education, or social programming’—pose[d] a ‘substantial risk’ of serious psychological and

emotional harm.”) (quotations omitted); McBride v. Deer, 240 F.3d 1287, 1292 (10th Cir. 2001)

(finding deliberate indifference where a prisoner was forced to live in a feces-covered cell for three

days).

   To address the objective component, courts must also “assess whether society considers the

risk that the prisoner complains of to be so grave that it violates contemporary standards of decency




future health); Johnson v. Epps, 479 Fed. App’x 583, 590-91 (5th Cir. 2012) (finding that prison
policy under which prisoners use unsterilized barbering instruments, which could expose them to
communicate diseases, posed an unreasonable risk of future harm), Brown v. Bargery, 207 F.3d
863, 865, 867-68 (6th Cir. 2000) (finding that improperly installed prison bunks that created a
danger that inmates could slide off of them and onto the concrete floor, as well as protruding
anchor bolts “which could potentially cause an injury,” could constitute a risk to their future health
under the objective prong); DeGidio v. Pung, 920 F.2d 525, 527, 529 (8th Cir. 1990) (affirming
district court’s conclusion that a “serious risk to the inmates’ health existed where a prison had an
inadequate response to a tuberculosis outbreak even though [o]nly a few infected individuals
develop active tuberculosis” and the rest are asymptomatic).


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to expose anyone unwillingly to such a risk.” Helling, 509 U.S. at 36. Society has deemed the risk

posed by COVID-19 intolerable: there have been unprecedented changes to American life to avoid

it. Compl. ¶¶ 38-40.

     2. Defendants Knew of and Disregarded the Excessive Risk to Prisoners’ Health and Safety
        Posed by COVID-19, Particularly Absent Appropriate Precautions.

     To satisfy the subjective component of deliberate indifference, a plaintiff must show that prison

officials “kn[ew] of and disregard[ed] an excessive risk to [the plaintiff’s] health or safety.”

Farmer v. Brennan, 511 U.S. 825, 837 (1994). “[T]he test is whether the [prison officials] kn[ew]

the plaintiff inmate faces a serious danger to his safety and they could avert the danger easily yet

they fail to do so.” Brown v. N.C. Dep’t of Corr., 612 F.3d 720, 723 (4th Cir. 2010) (quotations

omitted).

     Defendants knew the dangers imposed by COVID-19. When the Jail reported its first case of

COVID-19 on March 30, 2020, Defendant McDonough publicly predicted that this number would

grow, specifically citing the challenges of containing a virus in a jail. Compl. ¶¶ 69-70 (Defendant

McDonough comparing jails to “cruise ships without the views or the amenities,” observing that

“[a] jail is a pretty transitory place” where “[p]eople are close together” and “breathing the same

air,” and that she “expect[ed]” more cases of COVID-19 in the Jail); see Makdessi v. Fields, 789

F.3d 126, 141 (4th Cir. 2015) (stating that when a particular danger has been “expressly noted by

prison officials,” this can prove that official’s actual knowledge under the subjective test).38



38
   The Prince George’s County Department of Corrections has also tweeted about COVID-19,
often noting the very facts that make the Jail’s conditions so dangerous. See, e.g., Prince George’s
County Department of Corrections (@PGCorrections), Twitter (Apr. 8, 2020, 12:32 PM),
https://twitter.com/PGCorrections/status/1247925269765197830 (“Having a chronic disease like
diabetes can put you at higher risk for severe illness from viruses. See our attached fact sheet about
caring for yourself, managing your diabetes, and COVID-19.”); Id. (Apr. 6, 2020, 10:04 AM),
https://twitter.com/PGCorrections/status/1247163379954974720 (posting pictures of a “social
distancing farewell lunch” at which corrections officers are clearly less than six feet apart); Id.


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     Aside from this, the risks imposed by Defendants’ failures are obvious (especially during an

active outbreak). It is not challenging to predict the grim results of denying prisoners soap,

neglecting to sanitize common surfaces, locking medically vulnerable prisoners in cells with

symptomatic cellmates for 23-hours per day, and failing to monitor and treat symptomatic

prisoners during a pandemic. See Porter, 923 F.3d at 348, 361 (“[A]n obvious risk of harm justifies

an inference that a prison official subjectively disregarded a substantial risk of serious harm to the

inmate.”) (quotations omitted); Makdessi, 789 F.3d at 136 (stating that subjective test can be

satisfied where the risk of harm “was so obvious that it had to have been known”). Moreover, the

CDC’s Guidance for correctional and detention facilities, issued on March 23, 2020, explicitly

warns of the specific dangers COVID-19 imposes in these institutions. Ex. 36, CDC Guidance at

2    (describing   “unique   challenges    for   control   of   COVID-19      transmission    among

incarcerated/detained persons, staff, and visitors,” and advising that “[c]onsistent application of

specific preparation, prevention, and management measures can help reduce the risk of

transmission and severe disease from COVID-19”).39

     Defendants disregarded this risk. They failed to implement the CDC Guidance on almost every

score. 40 See Ex. B, Cameron, No. 2:20-cv-10949-LVP-MJH, at 3 (finding that Plaintiffs and

putative class of prisoners at a jail were likely to succeed on their Eighth and Fourteenth



(Apr. 6, 2020, 9:05 AM), https://twitter.com/PGCorrections/status/1247148491631140867
(warning that “the coronavirus can cause stress, fear, and anxiety,” and posting a flyer with “things
you can do to help,” including “exercise,” “talk[ing] with people you trust about how you are
feeling,” and “call[ing] loved ones just to say hi”).
39
   The CDC Guidance also warns that “[i]ncarcerated/detained persons and staff may have
medical conditions that increase their risk of disease from COVID-19,” and provides a link to a
list of those conditions. Ex. 36, CDC at 2.
40
  The CDC Guidance warned about the likely effects of certain ill-advised policies the Jail has
adopted. See Ex. 36, CDC at 2 (“Incarcerated persons may hesitate to report symptoms of COVID-
19 or seek medical care due to co-pay requirements and fear of isolation”).


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Amendment claims where the jail “ha[d] not imposed even the most basic safety measures

recommended by heath experts, the Centers for Disease Control and Prevention, and Michigan’s

Governor to reduce the spread of COVID-19 in detention facilities”). The predictable result of the

Jail’s conditions is the proliferation of an outbreak in a facility that is also failing to meet infected

prisoners’ medical needs. Under these circumstances, Plaintiffs have satisfied the subjective factor

and shown deliberate indifference.

             B. Plaintiffs Will Suffer Irreparable Harm Absent Immediate Relief

     Without this Court’s relief, Plaintiffs will suffer irreparable harm for two reasons. First, “the

denial of a constitutional right . . . constitutes irreparable harm.” Ross v. Meese, 818 F.2d 1132,

1135 (4th Cir. 1987). Second, the Jail’s conditions subject Plaintiffs to an increased risk that they

will contract COVID-19 and that they will suffer serious illness, physical damage, and death if

they do. This, of course, is irreparable harm as well.41

             C. The Balance of Equities and the Public Interest Favor the Requested Relief

     The balance of equities favors Plaintiffs. Plaintiffs face infection and sickness in a Jail that

cannot protect them; they seek this injunction to avoid serious illness, long-term physical damage,

and death. The Jail need only comply with basic public health measures. The relief that Plaintiffs

seek is also in the public interest. The Jail is not an isolated environment. Uncontrolled infection

within the Jail risks the health and safety of every person connected directly or indirectly to the

many correctional officers, healthcare workers and others who enter and leave the Jail environment


41
   See, e.g., Ex. B, Cameron, No. 2:20-cv-10949-LVP-MJH, at 3 (finding that prisoners at a jail
would suffer irreparable harm absent an injunction because “they face a heightened risk of
contracting this life-threatening virus simply as incarcerated individuals and even more so without
the imposition of these cautionary measures”); see also Coreas, No. CV TDC-20-0780, 2020 WL
1663133, at *13 (finding that, if there were any COVID-19 cases in the immigration facilities at
issue, it would find that petitioners faced “a significant risk of death or serious illness,” and that
this constitutes irreparable harm).


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every day. See Ex. 30, Meyer Decl. ¶ 15 (“Prison health is public health.”); Ex. 32, Benninger

Decl. ¶ 3(L) (“[B]y supporting inmate health, we are supporting public health.”). Therefore, any

remedy that will protect the Plaintiffs benefits the wider community.42

     II.    A Temporary Restraining Order Should Issue to Enjoin the Jail’s Unlawful
            Detention Policy.

     When the basis for a person’s detention has ended, she is entitled to release. Therefore,

Plaintiffs ask this Court to enjoin the Prince George’s County Jail from detaining COVID-positive

prisoners who are legally entitled to release. Compl. ¶¶ 183-87. Plaintiffs satisfy all four factors

necessary for the grant of a temporary restraining order. See Winter, 555 U.S. at 20.

     Plaintiffs are likely to succeed on the merits. Pretrial detainees have a liberty interest in paying

bail and being released after paying bail.43 And post-trial detainees “clearly [have] a Fourteenth

Amendment right to be released from service of a sentence upon expiration of its unequivocal

term.” See Perkins v. Peyton, 369 F.2d 590, 592 (4th Cir. 1966); see also Foucha v. Louisiana,

504 U.S. 71, 80 (1992) (“Freedom from bodily restraint has always been at the core of the liberty

protected by the Due Process Clause.”). Thus, the government infringes on an individual’s due

process rights when it continues to detain a person after the legal basis for detention has ended.




42
  See Ortuno v. Jennings, 2020 U.S. Dist. LEXIS 62030, 14 (N.D. Ca. April 8, 2020); (“The public
interest in promoting public health is served by efforts to contain further spread of COVID-19,
particularly in detention centers, which typically are staffed by numerous individuals who reside
in nearby communities.”); Castillo v. Barr, No. CV2000605TJHAFMX, 2020 WL 1502864, at *6
(C.D. Cal. Mar. 27, 2020) (“[T]he emergency injunctive relief sought, here, is absolutely in the
public's best interest. The public has a critical interest in preventing the further spread of the
coronavirus. An outbreak at Adelanto would, further, endanger all of us.”).
43
   See Steele v. Cicchi, 855 F.3d 494, 502 (3d Cir. 2017) (identifying a “constitutionally protected
liberty interest in exercising [a] bail option, once bail had been set”) (quotations omitted)); Lynch
v. City of New York, 335 F. Supp. 3d 645, 654 (S.D.N.Y. 2018) (“Plaintiffs have identified a liberty
interest in paying bail once it is fixed and in being released once bail is paid.”).


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     Courts have analyzed overdetention claims in terms of substantive due process. See, e.g., Lynch

v. City of New York, 335 F. Supp. 3d 645, 653 (S.D.N.Y. 2018).44 An infringement of an

individual’s substantive due process rights violates the Fourteenth Amendment when it is “so

egregious, so outrageous, that it may fairly be said to shock the contemporary conscience.”

Hawkins v. Freeman, 195 F.3d 732, 738 (4th Cir. 1999) (quoting Cty. of Sacramento v. Lewis, 523

U.S. 833, 847 n.8, (1998)). In a “custodial situation,” “deliberate indifference” can satisfy this

standard. Cty. of Sacramento, 523 U.S. at 851, 852. Deliberate indifference requires showing that

“defendants actually knew of and disregarded a substantial risk of serious injury to the detainee.”

Young v. City of Mount Ranier, 238 F.3d 567, 576 (4th Cir. 2001).

     Here, Defendants are responsible for effectuating prisoners’ release. They are surely aware that

detainees who post bail are entitled to release, and that a convicted prisoner is entitled to release

when her sentence expires. Subjecting prisoners to as many as 14 additional days in jail because

they are COVID-positive constitutes deliberate indifference. See Hawkins, 195 F.3d at 738; White

by White v. Chambliss, 112 F.3d 731, 737 (4th Cir. 1997) (stating that when an official “[chooses]

to ignore the danger” of constitutional violations, this amounts to deliberate indifference).

     The remaining three factors for a temporary restraining order are also met. Constitutional

violations constitute irreparable harm, as do deprivations of liberty. See Ross, 818 F.2d at 1135;

Jarpa v. Mumford, 211 F. Supp. 3d 706, 711 (D. Md. 2016) (“[B]ecause the harm is loss of liberty,



44
  Some courts assess pretrial detainees’ claims under the Fourth Amendment and post-conviction
detainees’ claims under the Eight Amendment. See, e.g., Morales v. Chadbourne, 793 F.3d 208,
217 (1st Cir. 2015) (conducting Fourth Amendment analysis on claim from a plaintiff “kept in
custody for a new purpose after she was entitled to release”); Haygood v. Younger, 769 F.2d 1350,
1354 (9th Cir. 1985) (applying Eighth Amendment analysis to an overdetention claim). The Fourth
Circuit has not explicitly prescribed a constitutional framework for overdetention claims.
However, Perkins suggests that in this circuit, the Fourteenth Amendment applies. See Perkins,
369 F.2d at 592. Regardless, Plaintiffs would also prevail under the Fourth and Eighth Amendment
analysis.


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it is quintessentially the kind of harm that cannot be undone or totally remedied through monetary

relief”). The balance of equities favor relief; the Jail has many options for resolving the risks of

releasing COVID-positive prisoners. Indeed, hospitals “release” such individuals every day. But

Plaintiffs risk being detained while sick with COVID-19 in a facility that is dangerously ill-

equipped to treat them. Finally, the requested relief is in the public interest, as it requires

Defendants to comply with basic liberty protections.

     If the Jail is concerned about the release of COVID-positive prisoners into the community, the

CDC Guidance recommends that it “contact public health to arrange for safe transport and

continuation of necessary medical care and medical isolation as part of release planning.” CDC

Guidance at 17. For infectious prisoners, this transition may be challenging, and the Jail should

develop an appropriate solution. Illegal detention in squalid conditions is not that solution. This

Court should grant relief.

     III.    This Court Should Order Release of the Medically Vulnerable Subclass of
             Pretrial Detainees Under 28 U.S.C. § 2241

     The Jail is in the midst of an uncontrolled outbreak of COVID-19.45 The members of the

Medically Vulnerable Subclass—all of whom are pretrial detainees not convicted of any crime—

each have medical conditions that worsen the effects of COVID-19.46 For them, exposure to

COVID-19 brings a meaningfully higher risk of permanent organ damage and death.47 The Jail



45
   Ex. 30, Meyer Decl. ¶ 26 (“[I]t is my professional judgment that this facility is dangerously
under-equipped and ill-prepared to prevent and manage the spread of COVID-19, which is
already spreading throughout the jail.”).
46
  See U.S. Centers for Diseases Control, “People Who Are At High Risk [for severe illness from
COVID-19],” https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-at-
higher-risk.html (last reviewed Apr. 15, 2020).
47
  Ex. 30, Meyer Decl. ¶ 40 (“[I]ndividuals with preexisting conditions (e.g., heart disease,
chronic lung disease, chronic liver disease, suppressed immune system, diabetes, mental health
conditions) or older age. . . are in even greater danger in [correctional/detention] facilities,


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has no plan to protect these prisoners. Compl. ¶¶ 154, 173, 174. Like all prisoners at the Jail, they

are locked down with symptomatic cellmates, denied medical care (even COVID-19 symptoms),

and, once infected, isolated in unsanitary conditions where they are almost never monitored. See,

e.g., id. ¶¶ 106-11, 126-27, 151-53, 157. These conditions are dangerous for everyone; for

medically vulnerable prisoners, even more so.48

     COVID-19 can escalate rapidly,49 and many vulnerable prisoners are already sick. For

example, six of the Named Plaintiffs have pre-existing conditions that make them especially

vulnerable to severe illness and death if they are infected with COVID-19. Five of them have

symptoms of COVID-19. Id. ¶¶ 14, 15, 17, 18, 19, 21.

     Defendants cannot remedy the Jail’s many failures in time to protect these prisoners’ lives.

Therefore, their continued detention is unconstitutional, and this Court should release them




including a meaningfully higher risk of death.”); see Coreas, No. CV TDC-20-0780, 2020 WL
1663133, at *11 (“For individuals in high risk categories such as Petitioners, the available data
shows that the death rate for those with COVID-19 is between 15 percent and 20 percent.”).
48
   Ex. 30, Meyer Decl. ¶ 27(a) (stating that the Jail’s delays in medical care “will result in . . . a
high risk for complications of COVID-19 among those who are infected, including death”); id. ¶
31 (finding that “not even th[e] minimal amount of [medical] care” is being provided to prisoners
who are sick with COVID-19); Id. ¶ 32 (stating that, given the disease’s rapidly progression,
“people in medical isolation [for COVID-19] need to be diligently monitored for clinical
worsening,” but prisoners’ accounts demonstrate “a lack of medical attention that is highly
concerning and suggests that medical staff do not have the necessary staffing, training, or resources
to identify when people require hospitalization”); id. (observing that the Jail’s nurses appear to
“ignor[e] . . . medical issues . . . that may be signs of complicated COVID-19 disease); id. ¶ 35
(stating that the Jail’s “[f]ailure to provide individuals adequate medical care for their underlying
chronic health conditions results in increased risk of COVID-19 infection and increased risk of
infection-related morbidity and mortality.”); Ex. 32, Benninger Decl. ¶ 9 (“[I]nmates with medical
conditions that put them at increased risk of infection and disease, are not being cared for
appropriately.”).
49
  Ex. 30, Meyer Decl. ¶ 32 (“Progression of respiratory symptoms in COVID-19 can be extremely
rapid.”); see Ex. 34, Benninger Decl. ¶ 3 (“In my clincal experience, persons infected with
COVID-19 have the ability to rapidly decompensate from a respiratory standpoint once showing
symptoms, sometimes requiring mechanical ventilation at an emergent pace.”).


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pursuant to a writ of habeas corpus under 28 U.S.C. § 2241.50 In recent weeks, multiple federal

courts have done this where there was no other way to protect imprisoned people’s rights (and

lives) from COVID-19.51

     If this Court is not inclined to release the Medically Vulnerable Subclass as a whole, it can, as

other federal courts have, order Defendants to produce a list of the members of that subclass and

any other information this Court requires to make appropriate determinations as to them. See, e.g.,

Ex. B, Cameron v. Bouchard, No. 2:20-cv-10949-LVP-MJH, at 7 (E.D. Mich. Apr. 17, 2020)

(ordering Defendants to “[p]romptly provide Plaintiffs and the Court with a list of all individually

who are in the Medically Vulnerable Subclass . . . which includes their location, charge and bond

status,” and “a list of any individuals in the Medically Vulnerable Subclass who Defendants object

to releasing and the basis for that objection”); Ex. D, Swain v. Junior, No. 1:20-cv-21457-KMW,




50
    Because the Medically Vulnerably Subclass members are pretrial detainees, they may bring this
action under § 2241. In re Wright, 826 F.3d 774, 782 (4th Cir. 2016) (explaining that prisoners in
. . . pre-conviction custody . . . or other forms of custody that are possible without a conviction are
able to take advantage of § 2241 relief) (quotations omitted).
51
   See, e.g., Ex. E, Order (Doc. 23), Malam v. Adducci, 20-10829, at 39-40 (releasing immigration
detainee under § 2241 because, given the “risk and severity of irreparable harm to the Petitioner
and the weight of public health evidence,” release was “the only reasonable option”); Thakker v.
Doll, No. 1:20-CV-480, 2020 WL 1671563, at *5-6, 9 (M.D. Pa. Mar. 31, 2020) (finding that
conditions of confinement at an immigrant detention facilities created serious risks for medically
vulnerable detainees where, as here, there were unsanitary conditions, prisoners were forced to
buy their own soap and share cleaning supplies, the facilities did not provide information on
COVID-19 prevention, and detainees shared cells with other inmates who showed symptoms of
COVID-19); Basank v. Decker, 20 Civ. 2518 (AT), 2020 WL 1481503, at *4-6 (S.D.N.Y. Mar.
26, 2020) (ordering release of ten immigration detainees with underlying medical conditions
including diabetes, heart disease, obesity, and asthma because it could not ensure social distancing
and had not taken specific steps to protect medically vulnerable detainees, although, in contrast to
this case, the ICE detention facility was providing soap and hand sanitizer and substantially
increased cleaning); see also Coreas, No. CV TDC-20-0780, 2020 WL 1663133, at *12-13 (stating
that the court would release the medically vulnerable immigration detainees under § 2241 if there
were any cases of COVID-19 at the facilities that held them and ordering the facilities to certify
that they have obtained and will administer tests for COVID-19 for all symptomatic detainees).


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at 2-5 (S.D. Fla. Apr. 7, 2020) (ordering Defendants to file, within two days, a list of Medically

Vulnerable Subclass Members under seal and to also “file a notice describing the measures being

employed to protect these individuals from the risk of COVID-19.”).52

     IV.    Additional Interim Remedies Are Available to This Court.

     Courts of equity operate with flexibility, especially in emergencies of great consequence. “The

horizon of risk for COVID-19 in this facility is a matter of days, not weeks.” Ex. 30, Meyer Decl.

¶ 41. Therefore, this Court may need to pursue interim remedies to protect prisoners from serious

harm while it considers their constitutional claims. First, this Court can transfer prisoners to home

detention or another appropriate facility if necessary to protect their rights under the Eighth and

Fourteenth Amendments. Second, this Court can release members of the Medically Vulnerable

Subclass on non-monetary bond while it considers their habeas petition under § 2241.

     A. This Court Has and Should Exercise the Authority to Transfer Prisoners to Home
        Detention or Another Appropriate Facility to Remedy the Constitutional Violations
        or Protect Prisoners From Additional Constitutional and Physical Harms.

     Plaintiffs ask this Court to order Defendants to remedy the conditions at the Prince George’s

County Jail so that they do not impose a substantial risk of serious harm on the people imprisoned

there. However, as the CDC and other experts recognize, it may be impossible to carry out some

of these measures and to protect certain vulnerable prisoners without transferring at least some

prisoners.53 Accordingly, Plaintiffs ask this Court to order that, to the extent Defendants cannot


52
  In addition, as described below, this Court has and should exercise the authority to release
members of the Medically Vulnerable Subclass on non-monetary bond pending the outcome of
their habeas petition. See infra at 33–35.
53
   See Ex. 36, CDC at 23 (stating that facilities should “ensure that incarcerated/detained
individuals receive medical evaluation and treatment at the first signs of COVID-19 symptoms,”
and [i]f the facility is not able to provide such evaluation and treatment, a plan should be in place
to safely transfer the individual to another facility or local hospital”); id. at 16 (noting that if its
medical isolation recommendations are infeasible, a prison should “[s]afety transfer individual[s]
to another facility with [the recommended] medical isolation capacity”); see also Amend at 3


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remedy the substantial risk of serious harm to certain prisoners, it transfer them to home detention

or another appropriate facility.54 Another federal court recently recognized this solution for

protecting prisoners in a jail that cannot adequately address the risk of COVID-19. See Ex. G, Gray

v. Cty. of Riverside (Doc. 191), 5:13-cv-0444-VAP-OPx, at 4 (C.D. Cal., Apr. 14, 2020) (stating

that if the jail “is unable to implement adequate social distancing within its existing jail facilities

and take other necessary steps to decrease the risk of infection, this Court has the authority to order

the transfer of prisoners to different facilities.”).

     Indeed, courts have previously transferred prisoners where necessary to protect their Eighth

Amendment rights. For example, in Plata v. Brown, No. C01-1351 TEH, 2013 WL 3200587 (E.D.

Cal. June 24, 2013), the court addressed the presence of “cocci” infections at two California

prisons. Cocci infections are asymptomatic for 60 percent of people, but it “can also result in

serious illness and, in the most extreme cases, death.” Id. at *2. The court found that the prisons’

measures to abate the threat of cocci were inadequate to avoid a substantial risk of serious harm to

certain high-risk inmates, and, accordingly, failure to transfer these groups of prisoners would

“result in deliberate indifference under the Eighth Amendment.” Id. at 10. Other courts have also




(“Prisons, jails, and other places of detention that are not able to comply with ethical standards of
quarantine and medical isolation in the COVID-19 pandemic should urgently implement strategies
to release or transfer people to locations that have the capacity to meet community standards of
medical care”); see also ABA Standards for Criminal Justice, 23-6.2(c) (3d ed. 2011) (“A prisoner
who requires care not available in the correctional facility should be transferred to a hospital or
other appropriate place for care.”); Ex. 30, Meyer Decl. ¶ 39–40 (recommending, among other
things, that “the jail should evaluate individuals for release in order to reduce the population of the
jail” particularly “individuals with preexisting conditions”).
54
  Depending on its current capacity, Defendants may be able to transfer some prisoners to the
Prince George’s County Community Release Center.



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ordered transfers to remedy or avoid Eighth Amendment violations.55 If necessary to avoid a

substantial risk of serious harm to some or all prisoners, this court should do the same.56

     B. This Court Has and Should Exercise the Authority to Release Medically Vulnerable
        Subclass Members on Non-Monetary Bond Conditions Pending Review of Their
        Request for Habeas Relief Under § 2241.

     A federal court has the authority to grant bail to habeas petitioners who are properly before it.

See United States v. Perkins, 53 F. App’x 667, 669 (4th Cir. 2002) (explaining the standard “[t]o

prevail on a motion for release on bail in a habeas case”); Mapp v. Reno, 241 F.3d 221, 226 (2d

Cir. 2001) (describing “the authority of the federal courts to grant bail to habeas petitioners”);

Bolante v. Keisler, 506 F.3d 618, 620 (7th Cir. 2007) (“Inherent judicial authority to grant bail to

persons who have asked for relief in an application for habeas corpus is a natural incident of habeas

corpus, the vehicle by which a person questions the government’s right to detain him.”). Pursuant




55
  See, e.g., Reaves v. Dep’t of Corr., 392 F. Supp. 3d 195, 200, 210 (D. Mass. 2019) (concluding
that transfer a quadriplegic state prisoner convicted of first degree murder to a non-Department of
Corrections facility where he could receive adequate care was the appropriate remedy for his
Eighth Amendment claims challenging his inadequate medical care); United States v. Wallen, 177
F. Supp. 2d 455, 458, 459 (D. Md. 2001) (ordering transfer of a pretrial detainee because of the
Court’s “grave[] concern[s] that [his] Fifth Amendment rights [against deliberate indifference to
his serious medical needs] may have been violated and, more importantly, that those rights may
be at continued risk if he [were] returned to [the jail]”); Johnson v. Harris, 479 F. Supp. 333, 338
(S.D.N.Y. 1979) (ordering the transfer of a severely diabetic prison to a facility that could meet
his medical needs as a remedy for Eighth Amendment violations).
56
  Transfers to restrictive home detention do not constitute “prisoner release order[s],” which are
prohibited under the Prison Litigation Reform Act (PLRA) absent certain conditions. See 18
U.S.C. § 3626(a)(3); see Gray (Doc. 191), 5:13-cv-0444-VAP-OPx, at 4-5 (“[N]othing in the
PLRA prohibits a district judge from ordering the transfer of prisoners in response to violations of
their constitutional rights . . . nor would it prohibit the Court from ordering the Sheriff to use his
authority . . . to transfer prisoners”); Reaves, 404 F. Supp. 3d at 522–23 (finding that transfer of a
prisoner to a facility outside of the Department of Corrections where his medical needs could be
met did not constitute a “prisoner release order” under the PLRA); Plata, 2013 WL 3200587, at
*8 (N.D. Cal. 2013) (noting Defendants’ concession that a transfer out of a prison to correct a
constitutional violation was not a “prisoner release order”).



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to this authority, if this Court does not immediately release members of the Medically Vulnerable

Subclass under § 2241, it should release some or all of them on non-monetary bond.

     Release on bond pending habeas is appropriate where the petitioner can “show that his petition

presents a substantial constitutional claim upon which he has a high probability of success, and

that extraordinary circumstances warrant his release.” Perkins, 53 F. App’x at 669. Circuit courts

have defined “extraordinary circumstances” to mean that “the grant of bail [is] necessary to make

the habeas remedy effective.” Mapp, 241 F.3d at 226 (quotations omitted). See Abdullah v. Bush,

945 F. Supp. 64, 67 (D.D.C. 2013), aff’d sub nom. Abdullah v. Obama, 753 F.3d 193 (D.C. Cir.

2014) (same); Landano v. Rafferty, 970 F.2d 1230, 1239 (3d Cir. 1992) (same).

     Extraordinary circumstances exist here.57 The Medically Vulnerable Subclass seeks habeas

relief because if they do not receive it, there is an unacceptable risk that they will become seriously

ill and die. Rapid removal from the jail is necessary “to make the habeas remedy effective”

because, with further delay, medically vulnerable prisoners may suffer the severe illness, physical

damage, and death they seek habeas to avoid. Mapp, 241 F.3d at 226.58

     Based on these considerations, a federal court for the District of Massachusetts has released

(and continues to release) numerous civil immigration detainees on non-monetary bond conditions

while their class action habeas petition based on a detention center’s failure to protect them from

the spread of COVID-19 is pending. See Ex. H, Order (Doc. 64), Savino v. Souza, No. 20-10617-




57
  Plaintiffs have already described above, why they are likely to succeed on the merits. See
supra at 17–25. And a constitutional challenge to jail conditions that imperil prisoners’ health
and safety is surely “substantial.” Perkins, 53 F. App’x at 669.
58
   Cf. Johnson v. Marsh, 227 F.2d 528, 529-32 (3d Cir. 1955) (finding that a district court had the
power to grant of bail pending habeas where the petitioner, “an advanced diabetic, was, under
conditions of confinement, rapidly progressing toward total blindness,” comparing this authority
to a judge’s power to issue a “stay of execution” while a petition is pending).


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WGY, 2020 WL 1703844, at *8–9 (Apr. 8, 2020). Finding “extraordinary circumstances” in “this

nightmarish pandemic,” the court opted to “diligently entertain[] bail applications while the

petitions for habeas corpus are pending.” Id. at *9. On April 15, 2020, the Court denied the

government’s request to stay the releases. In its Order, the Court explained: “We are in the midst

of a pandemic unprecedented in our lifetime. . . . [T]he Court will continue, on an individual basis,

to work through the difficult issues of bail in the present crisis. . . . Moreover, compelling issues

of individual, institutional, and community health preclude the luxury of a stay.” Doc. No. 86 at

1-3 (Apr. 15, 2020) (docket text).

     Other courts have also found that the risks imposed by COVID-19 warranted release on bond

while a habeas action was pending.59 Given the severe and unavoidable risks to the Medically

Vulnerable Class, this Court can and should act quickly to do the same.




59
   See Avendano Hernandez v. Decker, No. 20-CV-1589 (JPO), 2020 WL 1547459, at *3
(S.D.N.Y. Mar. 31, 2020) (releasing § 2241 habeas petitioner challenging unconstitutional
conditions of confinement—“specifically, continued risk of exposure to COVID-19”—because his
continued detention would expose him to the infection he seeks habeas relief to avoid and, thus,
“immediate[] release [wa]s necessary to ‘make the habeas remedy effective’”) (quoting Mapp, 241
F.3d at 230); Ex. I, Order (Doc. 507-1), Jimenez v. Wolf, No. 18-10225-MLW, at 3-4 (D. Mass.
Mar. 26, 2020) (concluding that release of habeas petitioner on bail was “necessary to … make the
habeas remedy effective” because “we’re living in the midst of a coronavirus pandemic,” “being
in a jail enhances risk,” and “[i]f the petitioner is infected and dies …. [t]he habeas remedy will be
ineffective”).



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Respectfully submitted on April 21, 2020,




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